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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION


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 BABY DOE, A CITIZEN OF AFGHANISTAN     :
 CURRENTLY RESIDING IN NORTH            :
 CAROLINA, BY AND THROUGH NEXT          :                    CIVIL ACTION NO. 3:22-CV-49
 FRIENDS, JOHN AND JANE DOE;AND JOHN :
 AND JANE DOE, CITIZENS OF AFGHANISTAN :
 AND LEGAL GUARDIANS OF BABY DOE,       :
                                        :
      Plaintiffs,                       :
                                        :
 v.                                     :
                                        :
 JOSHUA MAST, STEPHANIE MAST, RICHARD :
 MAST, KIMBERLEY MOTLEY, AND AHMAD :
 OSMANI,                                :
                                        :
      Defendants,                    :
                                      :
 and                                  :
                                      :
 UNITED STATES SECRETARY OF STATE    :
 ANTONY BLINKEN AND UNITED STATES :
 SECRETARY OF DEFENSE GENERAL         :
 LLOYD AUSTIN,                       :
                                     :
      Nominal Defendants.            :

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                              NOTICE OF FILING UNDER SEAL


        Plaintiffs, by counsel, pursuant to Rule 9 of the Local Civil Rules, provides public notice

 that Plaintiffs have today filed an unredacted copy of their Amended Complaint and Exhibit 1

 thereto under seal. All parties and non-parties are hereby notified that they may submit memoranda

 in support of or in opposition to the notice within seven (7) days, and that they may designate all or

 part of such memoranda as confidential.
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 Dated: October 28, 2022      Respectfully submitted,

                              /s/ Maya Eckstein
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                              Attorneys for Plaintiffs
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 28th day of October 2022, I electronically filed the foregoing

 with the Clerk of the Court using the CM/ECF system, which will send a notification of such filing

 to all CM/ECF participants.




                                                      By:     /s/ Maya M. Eckstein
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